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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                CASE NO.: 0:23-cv-60751-RS

 BRETT GROVES,

            Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC,

          Defendant.
 _____________________________________/

          DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S
            CERTIFICATE NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

 __X_ IS similar or related to pending or closed civil or criminal case(s) previously filed in this

 Court, or any other Federal or State court, or administrative agency as indicated below:

 This case was removed from the County Court of the Seventeenth Judicial Circuit, in and
 for Broward County, Florida, Case Number CONO23003041.

 __ IS NOT similar or related to pending or closed civil or criminal case(s) previously filed in

 this Court, or any other Federal or State court, or administrative agency. No similar or successive

 case exists.

         I further certify that I will serve a copy of this Notice of Pendency of Other Actions upon

 each party no later than fourteen days after the appearance of the party.

         Dated this 24th day of April 2023.
                                                   Respectfully submitted,
                                                  /s/ Ernest H. Kohlmyer, III
                                                  Ernest H. Kohlmyer, III
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on April

 24, 2023, via the Court Clerk’s CM/ECF system which will provide notice to the following

 Thomas J. Patti, Esquire and Victor Zabaleta, Esquire at tom@ Tom@pzlg.legal, and

 Victor@pzlg.legal; Paul A. Herman, Esquire at paul@consumeradvocatelaw.com; and Joel A.

 Brown, Esquire at joel.brown@friedmanandbrown.com (Attorneys for Plaintiff).


                                                  /s/ Ernest H. Kohlmyer, III
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